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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN MAHONEY                                       CIVIL ACTION

                      v.                           NO. 19-5694

PENNSYLVANIA HEALTH CLUB,
INC.

                                            ORDER

      AND NOW, this 27th day of February 2020, upon considering the Joint Stipulation of

Dismissal (ECF Doc. No. 11), it is ORDERED:

      1.       This action is DISMISSED WITH PREJUDICE under agreement of counsel and

Federal Rule of Civil Procedure 41(a)(l)(A)(ii);

      2.       We adjourn the March 11, 2020 initial pretrial conference; and,

      3.       The Clerk of Court shall close this case.
